1433 19 gm §§ 'g‘g'n m '1.|40::| 10 ‘sJEr-_*u". g 01 dn .1041\1=¢1.|.|005411:|04410 nun'q]i].§$ 01 dn 10 BU|.-J -'JUH¢|JMJ'E'¢H smst 0 ELFHLHH 104 .-‘.'}l]EUB¢,r
40051».-_4 3,0040400014_4001040001_1_

EU[]Z '£Z 15"¥"'|‘¢' i@lE{] SSEL=J 04100::4454 2315

 

 

'40||00 pure 0500|0&00>1 £Lu 40 4300
0144 011001.|00 puE 01'|11 34 001_1011 s]l.n u| 00040010 004101_1,410411! a|_|i 1121.|1 £Jr‘|[lad 40 duequ 1501er BJE|CIBD |

E;u 1#195‘~1;0 5"+l\‘i:#:l inns 1551
'Efk| iEUU'L!d

 

ic'_:anoqe w0141001054|p4[]l1uas 00 p|nol.|s
s}uaLu¢*;Ed 0040400044 040140. ssmpp\.;." 000 amEN

_04_0' :# '4001`;,.r 40 sll_E!C[ .lno;| 1007 _040 :# 10::1~`;,.r 40 04454¢] 4110:4 1501
:auaqd gram 400 ma :eu+:“-ld

 

msu xi 'SE||B0
EQLDZL XDE 00‘3§|.011:|00

0!5.4 500014_
59150|0“14“@1 £znnr m ‘>11<=1. M=\N
B:IUBEJB||"I.UDQ SM\E\" fitnch xo" orr
I[D[;llq§ omnznm ltllmsmp'
:JDIE}EU'E..l-L 40 EEBJP|W pUE E'LUE'N mri *|“:l![]l-._»D .[nq_]nH _|!nd
:PEl!:I '-51!'55[:'.]l B'LEU
‘L?E`EEE'E$ :'J-»|!F-"|C} 19 W"C*W‘E' JIUE"E' E":[ |3|""5"-[5
BUDU Z|:UMDLF!)| 4[:| # U.,|!E|Q lill'lC|'f] 4'=`|&.|5_45|.|E!I]f 01 BEIGHDU EUBL|.F¢". EEB.IPI.'.|'H DL|E E'LU'EN

so]Bmouq::-oj_ onuaB.mnun;-*_~_. giwqr 40 aauE|sse sp

saan[nuqnaj_ anuaE.laAuo;j g_iwgl g"|"| ‘|E‘|!dl‘-.*:} .luq.l'EH .l|E:|
1010450111_]_ 40 BUJBN :0010450€.|4_ 40 BLMEN

'004400 000 000004»'~0 sun u! 0001.10.\0401 l.u|E|:) 004 40 '£4440005 104 mem
10040 ‘10400041 0144 40 "d 'J>|ueg 'H '00:4 '{|.fl{n}}.ggg a|ng 04 40000100 004100 000 000004.'\0 samE .£001014
EBJE‘JSUEJJ. `[EJ|. LLL § `D'E'l"| LL IBDUH PB||L PB“|BBP 1'3 E|QHU SH-|L N| E|E|`||:! NE|§E| SHH Wl‘o"|i] ‘~:I"

.A..Llurl:las HD:I IWH.L HHHJ.D lml"u"l:) =ln HEl=lstHJ. 00 50110\'~|
{EM’Z l-‘EU "T'N BSE‘J -lSPun Pa-|@'ls!“!u-'PV -"'1|!'-|!°|"} LEPZ L'EIJ `DN 'BEE'.')
'DT| ‘El!'-I:'!N\ J..~"\N :9-' ul
010.00404] 40 1041154{]

un0g inqdnn|uog 004245; panun
{.¢J'llm L} WJLE ll|-l€*=f

0000 00 40 01010
_' '.B'.|'E[]

'4.0'100 004 40 40400 4004404 400044`0. 4000_\4040 40040_00 004 00

440404440000 00 ||40. 0040400014 004 '41n00 004 404 00040004 41400444 04 004400400 00 44 '004400 0404 40 0044400_1 004 40 0£00 {gz}
4400404 0|0440. 41000 001 04!0. 0040 00 40004 004400[04;4 ‘40400044 004 40 000044]440 00 4400:4 0404 40 00040 0.444040 004 04 440444
0000 000 424440009 404 0004 4004@ 01404;4 40 40400044_ 40 0044040 0404 004 000440:\0 04 00000 000400 104040 40 1010400044 00_4_

 

 

~HE|:|SNVH]. 01 J.Z'J.=.|FEID CI.L ElN|'l'l`.]VECI~

 

Z|»E§.)L KJ. rBE||E{]

004004 000 00 '0040 4000
044.{ £00044_

00450400 000 _4_

ESUBEJE*AUOD SM"'E' £EI]HI LH "I'I-WA "*WN

LE[IL'E'E `-“"H Uc[
440444445 0044004,~_4 04004'0141'

Z}”I’I ‘40444|0;4 .mq.uq.[ 4404_[

;JC*.|%4SUE.J_|_
0000440' 40 00040440 000 010040

00460|000004_ 00005.40000;_4 g,wgr 40 00'0[54000 00

00460400000_4_ 0000|5.400004_4 544,44;¢ 511 *40444|03 400.404.4 440:4
.'10.|040001_4_ 005044'0' 40 040040 :00404000.|4_ 40 040040

'0003 '4:100500' 00 41000 000
40 004440 0,444040 004 04 4444.40003 404 000410141[4 Lu[E]g 40 40400044 0 00444 0040400044 004 ‘044040 40 40400044 004
40 00004:44440 00 '4040400044 44000]40 004 450 0000 0404 04 [0}4 444 § '3'0'4'4 LL 40000 440444 0004000 40 00444 000
40400044 444 0000 '040 014043

A.LlHHQElS HD:| N"P'Hl. HEHJ.G W|V`l.".l :lC.| HE|:ISNVH.L :|D Eli".'l'l,LON

turn-00 '00 0000 10000 001010!0!1000 1100!04‘4 40004-00 ‘00 0000
'0-41‘0014004 400 =01 04

040M0|04] 40 404.4104{]
4100:) £04dn.l)400,q 004049 0044041

 

040100'014

+,404 ag 001 1414 1104100400 1040 01 1004'4:41404044 04 414.411 annum 40443414 0144 144 44011104444 004-144 1114 11441143 0144 414144 440410144114400 00014‘341:04,4
444-041 .44414‘!44011r 04 4404431'041 444-ns 4444.40.4 4444144 140115404414 141-1000 4.'40444:1:44441444401011 1444444'_‘1 0441 1000 40:044.44 144 1440 4440.1:414 4444444 1044440 411 04444411440.44414 0144444:
1144440 1.11404:4 444¢0_40 000444044 001‘0004404041 040004$0 41'00.4044 0014£400114 ‘1£4440 140514:10 0,0=4.154000 441 ‘4:,41414 ‘0-.141‘14400144 441 44044 04 44.'41111-4104 .040.14414 04 40113100\11'
'1440.4044 44091'4444014'14[ 44441014.1'14 00140 55004-40 44440410100 440 04 44044104414 10010044440 04 141404:_10144 100410 001 444 '04.4144441-10440:444 1400:_4104[0;:14 44 010 1100?140014 104
440.4.41'4::44.44 "545400 4:40‘0 0004 40304 040444.144044444.4 $414$\‘4|$|.1§ WWdN-L" P+W WM [|41 1041 0041$455'14!' ElE.|.T'IJq_w'EII- 01 EEBHHII aim 1|44!4$[450'4,1|' *0§4]!11 ll '41,|1{1L|'.l-Ii"lt|5[0.l 0.'.|4'15
04044 001 4454'|10.|144 '401:14.4.40"0'444$40' 04|1430 04244 0144 44.44'4.1_;4. |:04.4041 044'4.104 p!'ed:».f wmle 44444 440 lonner 1004’4444441|,]41.100.!-‘$4'1 Lh'|._.}i} D;HJ. 014'4 .Tl\' 040144444144 144411‘1 14004054:44
mnow'.;.' 44.14'444;~, 010 14044114441014444.40000444 144 04114444444'40 004 440 4404044 40 ‘41041'4440444 40 400$!14444400 ‘44011.-4.1411|4441141 00 04144401403 1104 110 4404044 40 1`044444411403
0144140 440404 4n14 04 1144144;1 14141_44 .11:1 1400 04 .444 04014111 11_1 101000'4014141 14044404. 1100.404 4440[144=|1|44 4041'-1444144444 444 444 pmi[qo "4404444444:4.40003 *4'.4'14441144444:0441
04114404:4 0444 4004 400440 0444 01:4:14.144 asman '.'141.01;411 014:140 4404141'10410.4 44044 0444441444.004. 400041404£0441 040444014.44.144 0044340444;' 04 00010 04 0004‘544 140141:44004.,.»'
'm E'*li:l.'l“:'r lmlm'§,i¢$'|r‘ B¥l|l. Erl|-l_l 1404!|41 01 1404040'444:4 puc 04141{44:440 14.4410 544
04.444144 ‘{00‘144400:10.|14 001 144 4.44444;4 001_40 40444 1044 1440.44 044‘.414144441'44 00444|4|.4404144 30401'1|!4|4‘44 444144.4504414“.|'14 00040:1|4 4‘1414 .11.111€4‘[1104.4 014 111-1440141.1:4404 0:1440 410 4400411:4
441|0 "'.‘44144244401,4 14140:144144404 4444404.4111 4111144'1*410:44;44044|0444441'1‘440444\14{4 441-444 404'40.'_1 00140 04145 001$14444.1=415‘0.1 004§40044 44044.4.4444444 440 04414444 04 501;444401:1140.4¢4 001
411 0n40444 004 4441¢ 140444_:441_40 004444:444440 40401.03140_4. 4001 09044454444‘4 004 3040.40‘44|.41‘40 004140414110_141444 041311|404'411 000 44 444-444 44444.'4004440.1 .10 ll‘E]441.'4'1414l '0.14144:4 004 .10 4044:404;4
1404 ‘44314444=4144414441 44444 015\.44441444:44 .4:44114144 40010 1040 40 4004040040 40 414404.14404_4}4011'404]444 4404444:140.'4 0141 044044400044.414 00141144144044 004 11444144400.4 400040014
04 40111111444040 110444440:400.44|0.4 1010 0444140 000 00443'440414_40=-14400=00.400.4 40 40:1!4‘0,400.4044 004.4$4000 10044014 141.'1041454:044 444444 444 444.40144.04 0441411=.101
00000€001000000 400€44044 ‘0040040510“40 404003040014000 000 4000“140 1040010\"= 140“4000041 1‘11'~\4010‘-4=40 00 400 000 4000\00 0000 400
1000-0400000=001100=34000000=00mm0£m00000m0000000040£0000000040100 04044004444041:4011011.01041400
jm~m» 1400 ammm'meim `44"4`14004"43`4'0'.40'$444 .44:1\.10401;44r _-'1€440'?"_

nw mn m am do 'W“'“F."'"="E nw 1'l'="“-'I".J'!l 44040:4044 440 NUF!HW lliT-`[ PP-E‘H"E 55me milwth 53 400044'414 1044443 0444_44:`4 (-4,.4,;»4:4 414:0401:{ 01144-10.14444 -
|W”H.FF'F“ 113 ill 1\'|'|#! llmmll`i T-IB 300 EJ’DLIELEW 01 10134€§‘44'£0 444'444:[ 00001_4,40 440 0011340144,1' 0401‘.4|'4014‘.|404 540444441:110014 44444414 4014‘1'4'4000 0444 11001‘:1400 40
WMH$-'"EH 4“14'1“ W°MM W|'l‘J-‘WB ““ m *1-‘”1'10£| 1141 “W;i l“!'\`-IS =l~[i 0110=¢150-1 lH!J-'L "D'F|M!J-IB!P 44041400440 =‘LR 01'~!000-4 400 4000 0003`400*1" PH‘=? ‘44|44410
01'.44 1414141 44041:400440.~1 04 140 §0 0044044404'4140 404111:14 40 4444_1 1141440'111.-4011 *.101404001,1 40 4[014=1:4 110 014:10111 4411411 10 4401140-.1.1.1 1400 444 11114444 401440 1010 01 1114114:.
=“44 |F"“W"¢'1 Wf€h'= 004 40 040440 001-340‘04=4041£4400 4444444 1044.444 ‘1144144:1 1141 1444411 44444401444414 111 144 410 1111140044411 401411114 111 1411_1 114111111141011111111 1011
000-010 404444 40 000 1444 10111411 .1111410 1400 111 10414;111141 44110 .10 11040444 04104:110 p]os 41:1 41044314014 00144011:441-.01,»- 40144 414-440 004 114 4441410140400 1400104.4044040041"

0114041 044 4444411114 mm 04404:4 0144.444 4044044.14:

004 4401'|440.4 04 1'{1.404| .14'1|4444 1100 4010144,0¢4 444 _444444:410r 440 140 .4'44 44:14.10:044 044 1400 .44:4 1040 0111114 4001 4100144044 4001110041 4044000040 40 4004404041 444 444014440

4411 01000:4141 40144 4:41.10 *.014000444.444 044144414 .10 pup4 1{110_414 0104404144.4441:4440 444 044-.4.014144 1444144001*414044 44-11 400 11044_411 000 1114444;4 1114114=11141410014 000 0010.0
.11444040014 1404 *4.41441 04 114 0404414~1444 ’10.4141:| 444444410441 04 404444;1 1141 0054404010 4000 '404404401410044444110.114 400 0014101104100 10141'11141144'_4014440 1111_1401:-_4044411
400.44441414 44444 444 ‘.41:44.44440014 140004441§:4444444441:1 .£4.14-11 4:0410 111`1:0 104 40 ‘.4011!4040 1414 po41100111 1004 0014410111040 4414 40444 04140.044411 4400 00040.4441414 4044:1.141,1
1140040411,14 414140444¢4;014$1444010114 11‘1414 01 10441444111 400 04 11444445 '.1444 40,1044440.40 440.14'4:44101444 .1111441:1 4411144414:114.44440.44 0400401444 1004 .11.1 000444104.110441 10 000de
4404441£40'404.44441400044| 1114-045 :4141 _.414 41404110.1 0400_14.4:1004 4141141¥4400444f 444 441.'100.1 1114'4‘41040144 00041;0444444 140 4000000 ‘01:411 1400 04 440?440140 1044 000 140140441W 4411444414
0144 1444144 0044:=4444140 144.444 '40 44044:44440_14140 400.400.444 44441 114 '104.1£4000 40_4401411:4 440 14101441141411£110 140 .40 440144!400'41‘14“0 440414¢004 1000 400 4404444444.44_.444‘44 4044444
40 1000411‘0:4 du !Hllm 544 1040 000444440:='14 444 41405400\44 40040§'0 040440010_1440 ‘.1140'040044¢40 4u44144110.'11441 314444040 puc 40004 *44441411 0444 00111;4401100 4144114140\44.1'§%14.1
000 444014004514 04144 00044444[ 444.441 40144114:- ‘04440:004 040004040 441414 .0411044 0140441|404 0144 000 4040'4'44041' 44014 401‘1'-4441140 1444 440.1441041444 441114 41011-.0101
'440¢4.401411444 10101 1000 0014 401444400.00 04141 '4010440'14 4104144444404430 444444444 411440114.40_4.11114 411111 101141011 '11111141111110 1141 -11141111111_1411111.11100 411 0041411014111

444 *04 1104:444:14144:1 11 m 440440|40.1 04 0041044.044_10 .4_1:1 44_100.1:1114.4444{ '0114.101:1.11:10 .40 011_140 ‘41441400014 ‘144001100 011 00444044 004 1004440'0 1040414 0414404'4444_4440 '444401'1

0 04 104040 0=44 04000 00 001040410014 04040444 00004=1000= 000 000 00|44140041140 0401'0=100 04 00 4040140 0414 404 401041 04 1400 00440 4444010 010 04 004400!140
044 4041-40104 P!]l=r- 04141444111111 440 441 044444:4 0444.144444 10'£§;‘0£ 40444 404 400 444 04144;4 0414.40 444414444.441 4414110141 0001.4011 400 00444141:4141 1014-4111414:111044014

'1-|\‘444[4 014;4

140 =400=04 0444 00 00040140 4000 4104040 401111: 0440044 040004 04 00144400 01 410440 410 440144401014 4141440 00004

0444 044004'0_440 40404;4404004¢4'm14140 4001110 0141 440100.'144 044 004401444:14.044 4411444: 000§404‘0' 0.1104444 140144 400 44411041111

44.14'444:1 4401 1000 114044404004'40414 4444'144'3 404100.4,.4 414]444 '1[44401441454044'4; 04154 01 '4:404['.'414440 144 w404:4_404004,]' 1400040
101440 04'1.4144 4401:]4 0904440000.4,4 440:4 444 4,'40444 £40'14.1_44 000 4'[44444 4:4.44014 020 _'_3_40 404'4044444 004 144 4444‘444:4'40404114=4 1414 444

l l l444|1:441'4¢'4 .44401{ 440 004101.14 40 044444:440
405.4¢4 500 3004 404 04¢4400444!00.1 00 400 44000 000540041‘ '031144400014.44.'1 001 04 440444 440:14;4.1~:44.4 000 4444444£4_4'.4,4440444 0 ){

1401413 14001;4,'_'4 140004444 4001 norman 441444 0104440.400.1 mu%‘4101,4

‘400404444 1*:441444000 0 011444.40 00 440144004:1 044 44444 4444014 444114 1404141044044444 0304‘.|44411 0044444114444444 0444 411 411-110411‘.441:4:0 40004444444004411 4:11411 011141:1111;40

440 1004:044 00 44'1:4444410014.44.1£44'.00 4444414:41144 411qu 444.404 100 044 mqoq 104 .1014$44004,' 441 44011144 040441:444.444 440 44000:4 04 04444'4;4 :4'14]r 1114\44;4 141|'4_44.4 440440444044'00 04
404¢400 440 4444440144 40 41400 041 1004 4404114‘~'~ 10404!4:»444 4000 000 044:\44141.140444 '0444144:0:0 "44000 440 444444 004440¢.40_4 004.11‘4 1404 04 01141041-11 .0 10111411 \1111:1.1_1 0104.111
11414.111:114 pun 001414.1 .11111111 4110 0044011 14111111:114105401 '.-’14.11444 p.44141 4044144 .114 4011444.414445 .*1'4.444 '10404444444 014 ‘4044401;4 0444 404114'1'414 1401:4:11440 0001400 00100 40010

440 000 00010 0444 04 4000440-1 1141-0- 1440f 041 ll-'440-1 004-404 *£0044 *0'-404- 1400 404040 010 04 000010-4 0000140 00000= 0004040 1£40_444 440441!144414440014440144414444:144
140 0044400.1 01 110]44'-44|»0 044 1944014 4014111111:114111;00 :01-11-r '0041411104:1 '414'.4.10404 440 000004 04 04404.1 0,401134414444 04444 .'1404044 44044441044:\| *1¢1`:44444 ‘4414444:1_40_40044_4

1104 1404:4:44441044 41101444444 5404441'1444144 *111404:4 004 04 5041\1401 .4144454000'_;0 044404401'4 pcn=. 04054.14411 poe ‘41£'5££*:5 140144 1104 400 40 1044014.40 E4.444:1110404011 144111:14414:4
0444 04(014404-1514‘0414 000;1401404'4 4411»1114 0444:1:-414 1441444141-4 10101-1511 1044 mg *4,,44140;4. 04414 11.1114110401[_40 404:44411;4 ll.444414;41 104004141113 1041444 4410_1114'4
0114404100‘0400000114~ 000 004001'03-4004= 404 03044=000040 04 4044044100 '41110414001401'4"04'404111.141144~440=4000 411044010- 0\444144104 400 04004440=0=
041'414,10'0 ‘.401'.4§41:0'(,40 04044.44:1 .10 104444:4 001 04 41-1441 04 40010.'104 000 04144 1034.4 0,.4044545'€*0'4‘0 441-4 '0'5441444 m ".4440,14 4004»4‘ 400 4 0444'4§ ‘4'[4311144440.441 44»4;[ 414

 

mm000 00 3044044 '(1.004404001414 40000 01 '044"4 "'4‘4'.4414'4'0 44044414'4'14 4000 04 4000-11 144040140044 ‘{,.=404.441 01-1114:44111., 400 11111101111;1411
440!4‘440140000 04 *1.140054'=014 00144-14004 '4414_ 0044111 * ‘140444444 000 014‘10444 4000 40 00444140 0044400' 00000\4 ‘0040040041"--1."-'--»4000 0144144r
WWFTD_JE'.TIEWJTIHE§F

00400 0001=4 00“00 `~ 04=00 0000400400

H°`EWBF:|

:)Tl ‘4111413!4111 4.'11~1 "1"14 143 *1:1"4'1‘1:111114114'0011'1:44401 1401

0'1"1 440¢40 411¢1-'1411 1!'»*14 419-1100 111~"1‘4-1.11
' :£E[

 

 

4 011044110404_ 1114 404.111 401041111044;4
_ - _.____ l __ _'“ |? 4 ‘£E
01441401001 4044»140100 000

‘000~: ' ’F:-'E'~j-?_ 40 1404 1444;." 500 1004 =11==1=4=1=1=111=14114¢#50'=~0 P=Hi"!$wvu“ =“11 ‘.-10041111~1111 00004.1141 110

.Hm_. -.,.4,1 4_1 ,W_, .,..4_,..‘.,,....1...,...1-11...4..1.0-1.H0“m00,0101qu0r0mq'000004140:m004010?4?400*§4[4]1101-1 11040.1414444014104144:440 '_'

411=1111114410“14- 44141 04 14440_4 400 1110.101 0141 40 440 0144104111:00 1100 WE‘00114404.14-4011 11004014 4011340444 '1041144_4 40 4001:1111'0404141 041410114 04 141444140_14 40 00444344140
1100 14101410_10 404440 440140 0000404 0044541044 000 4041$401;44 441-0140104414011010 0144000.:1 0111 14410101414.01 40 40414'|41~.044 1114440014 01404;4 0144 040,4414110 000£1410144
4000 1104 10 '1`404==4-'111'101041 41 0040€¢100 400 1110 40011141=011 30031440 ‘110.111‘14400 00144414 mm 010 914411544=40 14 '44 000.11 0104=1 104 1004 =1'10

04 41111115.1411;14041£44141.;04 00011 404144:1 4114,14040110141144110111104441411 40 40_440014 11111 1114144'.11114.-.1 10410 111-04100 0400 014 441 '11011£44~4444 '0.1404~_} 0144 1110 0011¢0_14441 441-144
4444141.10441141 MHE!HW 1444th l1414'04;3. 0141 04 4:041|'11:04 144|114 '{,_¢1414111,,] 0.1114:1:100.1.4 111'01011.114014144 _10 0:1|11-44414.044.-444 0414 414 404 10144; 04044 01 441140044114 .111_414110.11_40
004101411 041_1 0100004011-4,- 11-.104401441111 10401014 4000401,-14 ‘01404;'140 404144141‘34044,4 114141 0100?‘00 01044411!44 004110:1110 11'1!_|0 110111"1441144 04 14.101141041 1144114.1541;.411f 0001'1

HEIM‘HM E[t~N .4111"1401~14}54

'1»‘{.111[

1414 1044414 4400111414 041440‘410144 004140411400344444'.10000041114 0044011 1100 04 4:100 1011141[1_40 40044144340'444 441144 114 144.111_14:10 0104114:0 001404011§|441141 01 44:011‘011
114-140 5000 0 1104|4004 111:4_ 40113441144 4411411'1 444 1000 mm 410 0=411.100 40144 400.15‘14 1404 04.1110040 401110 140110 1114 4110414044 40110 410_11040'414114‘411110111:10 110411011
000 141 Wuu:- 4000440144 1100 ‘44.10_4L 11101~4400104$ 0144 144 010‘04104 4.11100 10.111410,4 40 01019 1411-11 114 1144'11141114 014 1000 111404;440111440054004.1 0414:1 411 0‘0410]04

40 upon 30404411 1104400 14044 '444041,_ 41104144.00401§ 0141_40 011:1'04 0414 14141111 0001444.10000 04 4:0114.444400 4:~1.111 1444 440me 1114 4401414 40[043 40 4041011541114114 11 _11LL
'400400011§‘.0 0434.140' 414

mmm=LrD-‘\ 01 110wa 1414 ll.'il'[=E 1004=530'1 0014111 10001.1010000 140114 140 1100 444111‘440411110:1 04 4101110040 041 140111 114401:140411011110'1‘4-4401 4414,4, 0001.0110‘40141»:11 144-114
.4‘014 000 04441|;]40 40014141344'101' 044444.0 14101'144014 441441 110414400104 0144 0.»141141:10 440140 14401:14404:14110 00441.144.1401114:1014 440441;44144110011404 44141 -4114114;4 40 4044|.141'341'1'014-*
04441 04 4‘41141 04 0410$`441011r 40 4140.104114 1400 04444'414'3444114 1444111. .101440§04'10404;1 :4044 0341441414.1 .'114;141 1400 411 1000 000'54114114111141 40311044'100'44.-.110 1100.1:144 .1011§400141
00544011 000 10044440000 01441:100401

440141 |=~14‘11 0411?1|14414»' *401441'44“11“'4' 110 11414014.11104|1'0 014 4114040 44]1'4441144 141411|4 04014| 44014! |1014 *001111 504 410411_ 044 444144 1114011]_40 411014|14'34441,11 11414'1410 4444.101 0144_

‘11`-'*“*= 1141

1100444111014 4401411 104114_'4 4404'00.111 0444 410 4004414111 0141 011-110 1404141111 114 ~41.-144_4 0001:4 0014 1114144{4 40 400.1441441404041 400004011 00441'1144.144444 404 14001441141_4000411 0144
004 140140 1144114;4_40 40044141'044044' 04144 00 0040044411414001414414 0144 '004411.101410 4101111114144 04 00114140044 0004144'4 '404414;;1 044 001-14'14114001411 04 4101440:144 1444-11044001011441
='-‘¢l Il`BLF lWEF-‘-"'o' PW '41-|“\'-1-'-‘“" =‘|""q g1=1'=“=15*1`3“"'11*‘ ul FW“\'|=F~ =f1 11“|5 mill '[~=¢1== 111 nlthon 41$41*11¢10110|-011 l1044 ‘41:)014:1 1104411¢44-011444 010 144011

140144 0000440'11' 0014-4 ‘1_140:1140 140110 40 0000144044:1140 141-040 (14444 14400441 0414401'4 10 140 10110'44114141 04 4100104 001-1140 1111444144441\4441 014401114401'-400 01 1144114 1011‘£141144144
'441144:441 4001'1 410 '1?1\444:100444 1400 .10 11044001 l5`1.1441'1\'044| 40404:430 400.144 1040 504414 404 041:444411111|404 014 400 4401441 0011340014

` "'-'»-'fll$!EE'r,-" 04 M`DJ'E| l[$!"El H$£'li'¢.hi bd 1¢1104110000 441401000041 40 1141.100.4044044110

1004 1444114.101410401 *41:1444411411001 010011 1041 04 104040441 1411414 1100 11011044441104 40444011 44111114 40011411110_ g 110114 1001 1011 411144 1141111110,111 04101:1110

wm 511 13 ‘11.'111 PL'= wm 111 hmo-rd L1mm 1=1'=1111111 101¢?10441' 010 1100 44311 =1=\14$=1= 1111 010 41va 10101 411 4011$4440.114 10011001 411-011!1110~1 4411114
*»¢1411110411.101440 1"1110 40400104444404 ‘0:14414441000 ~144*00 40 000_4 0144 1114 401444.111111 *404114:4 0144401144100011 0040110440141 1444 410.1.41100.1 1404441444.4414441 1400 101440001100
.El444.1444 400'34§$0 1940004010410404044 100.4411110.1 101401‘44'410 00 ‘4'!4014'.10000.44| 4114'1 04 1411111:1 :114;104 4004!.10.1 11|40. 4104400 .1:11140 140110 01410 04 1100 *'044114;4 04411041'111
04 44011 1440.1014 000'1"1`441411 014414;] 0444 0440001104 4444111 144400' 4104144 14'41'4140 4010;'_4 0141 *.1044'40¢4 0101_'4 4101140004 010440144411 0005'404'141 04 p4411144041. 04 1100.4€1‘0 4001'11’4051.44

'1°=1301‘4’ 14 >1-'-1=11 1001 1044 14010 410 441 111110=1111==

1011t 111010 l1114 41 whim “1=4131040 1411 1400 441¢=4=411 1114 401¢$11€11 4111141=0 4114114111=“111\1 14411= 1101\31‘='44' ‘\111“1-'!1 410 440 1110-l 1011 4=4’314=114 1014 ==‘1>1>0
14011:1410411054 0141_.10 4,40144044;41 .1014111-1 020:0 0 01 41014004100 40 0041441114_11: 04 04110 140400.1.-14141111 4_401.41011 0141144441.114011.0 0141 114 '40144 1100110|4110114400 4000411:1,4
'041430000 plm 0004411401111.1 040.104|.100

*4404101140_14004'1 040444104014040 11044110011:1 010 010440440114 111014141\11 *0040114004 1100?1441401 111 0140444 0141410 40001-1011 110 411041111:441414444 40 04.001444‘00 1400 01141
1414444;1 0144_40 400041454'400 0441400140 04 011104434144 410 10001400014 :11:4 1420.1 041 '000:1011.'1 411410 514 441 ‘140_4100 40441.11'44 44'.'1140 0440‘.4 04 0.‘041’4'¢ 400‘544¢'|1‘ ‘03044400004¢|
001 114401100104014‘41444404 4,10404;1 1044 41104.400 40 04001 04 0044:14 1010 014114 04 00441044140 011 00414 41‘9'1[$ 001\$41414' '40441110 0404 444=4111]441114 40 440de 1111110
450=*“~"- mm\=w w 340-044 1’-‘=*-“ '-\'-‘“5!1§=‘~0 010 1104 04an 111 40000004100=‘1 qmm=l 500 511 1>=11'~\3»\3 400-wi 410=\01‘1 mbm 4110911414 ‘1111111:1
40 1011141413‘1411114,1r =4111 04 44111111111'111.1001111 044114 11414444.4 414 111114 014040 0111 11040100 01 11404441000 110114144 440 011 01 10001111114 411:1_1 4100044041' 011111 4411-00 .11111041111141
'4'101.1.‘0‘4_0140 414114014 1444-043 014:4441:1 4101'100044 410 4040441:444'401§444{ 411\11 0144:1 '01444:10144 4044'00.0444 4?0444 140 ‘31'1111114414 440 4141.144041-144 1-4441114441: 1401'100=44 411444 011'41,0014-:[4.1.10:1
‘41:44 000 *41440444044 01‘410015 0.401,154114'¢41' 444»4014 01001;1£14:0'1,' 000440441:441 000 14'.".144.11'.4'4444 444441\1144 411144 044.14 014 00 004.154.'1‘04;4' '14441400410 1£|44001414:4.'444 1404114:111 404154.=441‘44\'

